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IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
Vv. : CRIMINAL NO. 18-101-2

VINCENT THOMPSON

OR
AND NOW, this / OKavot

Government's Motion to Unseal, it is hereby

 
  

021, upon consideration of the

ORDERED
that the government’s motion be, and hereby is, GRANTED, and that the Transcript of the
Change of Plea hearing in this matter is hereby temporarily, UNSEALED.
BY THE COURT:

A boa,

/HONORABL GENE E.K. PRATTER
[iene States District Court Judge
